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                  IN THE UNITED STATES DISTRICT COURT FOR THE
                           WESTERN DISTRICT OF TEXAS
                              SAN ANTONIO DIVISION

 LULAC TEXAS, et al.,                           §
                                                §
         Plaintiffs,                            §
                                                §
 v.                                             §                1:21-CV-0786-XR
                                                §
 JOSE ESPARZA, et al.,                          §
                                                §
         Defendants.                            §

                                            ORDER

       On this date, the Court considered the status of this case. Concurrently herewith, the Court

issues an order consolidating this case under La Unión del Pueblo Entero v. Abbott, No. 5:21-cv-

844 (W.D. Tex.). That order instructs the parties to file all future filings in La Unión del Pueblo

Entero v. Abbott, No. 5:21-cv-844 (W.D. Tex.). Given these circumstances, the Court concludes

that this case is appropriate for administrative closure. See Mire v. Full Spectrum Lending, Inc.,

389 F.3d 163, 167 (5th Cir. 2014)

       Accordingly, the Clerk’s office is DIRECTED to administratively close this case pending

further order of the Court.

       It is so ORDERED.

       SIGNED this September 30, 2021.




                                                    XAVIER RODRIGUEZ
                                                    UNITED STATES DISTRICT JUDGE




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